                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )       COLLIER/CARTER
                                               )
        v.                                     )       CASE NO. 1:09-CR-181
                                               )
 KEVIN THOMPSON                                )



                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on October 25,

 2010. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 One of the Indictment, conspiracy to distribute and manufacture 5 grams or more of

 methamphetamine (actual) and 50 grams or more of a mixture and substance containing

 methamphetamine, in violation of 21 USC §§ 846, 841(a)(1) and 841(b)(1)(B), in exchange for

 the undertakings made by the government in the written plea agreement. On the basis of the

 record made at the hearing, I find that the defendant is fully capable and competent to enter an

 informed plea; that the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

 apart from the promises in the plea agreement; that the defendant understands the nature of the

 charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment, and that the

 written plea agreement be accepted at the time of sentencing. I further recommend that


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 defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication

 of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved

 for the district judge.

         The defendant’s sentencing date is scheduled for Thursday, March 17, 2010, at 9:00

 am.



                                              s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
 to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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